EXHIBIT 3

Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 1 of 45
“s NewFields

Expert Rebuttal Report
Of
Stephen D. Emsbo-Mattingly

Provided in the following litigation pending in
the District Court for the Eastern District of North Carolina, Western Division:

5:08-cv-00460-FL Duke Energy Progress, Inc. v. 3M Company, et al.
and
5:08-cv-00463-FL Consolidation Coal Company v. 3M Company, et al.

September 5, 2014

 

 

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Emsbo-Mattingly Expert Report |

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This report sets out my opinions about the limitation of the historical data to ascertain the date of
release for polychlorinated biphenyls (PCBs) at the Ward Transformer Site. My opinions include a
description of the existing data and the factors needed to date the release of the detected PCBs. This
report is offered in rebuttal to the 2011 and 2014 opinions and 2012 deposition testimony of Plainitffs’
expert Gary Collison concerning the timing of releases of PCBs at and from the Site.

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lama Senior Scientist and Partner with NewFields Environmental Forensics Practice, LLC located in
Rockland, Massachusetts, | am a chemist with over 25 years of postgraduate and professional working
experience in the field of environmental chemistry. | hold a Master's of Science (M.S.) in environmental
science from the University of Massachusetts and a Bachelor’s degree from Oberlin College. My resume
is presented in Attachment 1.

| directed organic and inorganic laboratories for more than 10 years and performed several hundred
forensic investigations concerning chlorinated organic compounds, hydrocarbons, and heavy metals
throughout the United States under contract with USEPA, NOAA, various State agencies, and numerous
private companies. | authored or co-authored over 100 professional publications and presentations
(Attachment 1), including textbook chapters concerning the environmental forensics aspects of chemical
source identification and interpretation that are relevant to this investigation. | provided expert
testimony on five occasions since 2000 including one mediation (Attachment 2). | currently serve on the
Editorial Board of the International Journal of Environmental Forensics.

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lam compensated at the rate of $200/hour for study, deposition and testimony.

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In the process of preparing this report, | have reviewed and relied upon case-specific documents such as
reports, maps, aerial photographs, chemistry data, and other documents that were developed during
the course of numerous investigations conducted in regard to this matter. A listing of the documents
and data my colleagues and | reviewed and relied upon is provided in Attachment 3.

The environmental samples that support my forensic investigation were collected during the
contaminant investigation and remediation. NewFields used these data to create a cumulative database
containing all available analytical data. Additional data and site information, such as aerial photos and
site maps are included to place the chemical patterns observed in the study area geographic context.
Every effort was made to include all of the sample and site information available for this investigation
and no sample data were intentionally omitted. The complete database is included in the Ward
Transformer Database submitted with this report (Attachment 4).

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Emsbo-Mattingly Expert Report

In addition to site-specific data and reports, | have relied upon published papers and books that are
pertinent to the chemistry and fate of PCBs and other related contaminants in the environment, as well
as facts or data reasonably relied upon by professionals in my field as referenced herein.

{ reserve the right to modify and supplement opinions expressed in this report as further information
becomes available, including through disclosure of information not yet reviewed by this author, the
depositions of Plaintiffs’ experts, and any subsequent sampling and analyses. | reserve the right to
express new opinions in response to new information or opinions expressed by Plaintiffs’ experts.

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Stanley (1994) and Weston (2004) described the site history in sufficient detail for this forensic
evaluation. The Ward Transformer site in Raleigh, Wake County, North Carolina was formerly owned by
the Ward Transformer Company a/k/a Ward Sales & Service, Inc. (Ward). The site was built on
approximately eleven (11) acres of previously undeveloped land in 1964 and used to build and sell new
transformers, store for resale inventoried transformers and consignment transformers, and repair and
recondition transformers. The operational period extended from 1964 to 2006 during which the plant
configuration evolved.

Spatial Domains
Multiple spatial domains were established to evaluate the relationship between site operations and the

historical PCB releases, The spatial domains assigned for this evaluation included:

e Transformer Reconditioning Building (Onsite) constructed in 1965, operated until 2006,
enlarged processing area in 1969, added office in 1982, and added Blue Annex between
1996-2002;

e Transformer Storage Yard (Onsite) operated from 1965 to 2006

e Tank Farm (Onsite) increased from 3 to 7 ASTs around 1979;

e Gravel Parking Lot (Onsite) constructed circa 1979 and operated until 2006;

e Water Treatment Plant Office (Onsite) constructed between 1979 and 1981, operated
until 2006;

e Stormwater Lagoon (Onsite) constructed around 1972, operated until 2006;

e Horizon Forest Property (Onsite) operated from 1974 to 2006;

e Estes Operation (Offsite) constructed circa 1973 and remains in operation;

e Offsite East

e Offsite South

e 6 Offsite West

e Offsite North

e Unnamed Tributary (Offsite)

e Little Brier Creek Upstream (Offsite)

e Little Brier Creek Downstream (Offsite)

¢ Remedial Investigation Area (Offsite)

e Construction Delineation Area (Offsite)

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Emsbo-Mattingly Expert Report i

Contamination Discovery (1978 -1979)

As a result of the PCB Roadside Spill and prosecution of company President Buck Ward and his son,
investigations of the Ward Site itself were initiated by the United States Environmental Protection
Agency (USEPA). That investigation demonstrated extensive PCB contamination in the onsite soil, the
stormwater lagoon water and sediment, and the water and sediments along the offsite surface water
pathway draining the site. Aroclor 1260 (PCB 1260) was the major PCB contaminant detected (USEPA,
1978; USEPA, 1979; Shifrin, 2014).

Reformed Ward Operations (1978-2006)
Given EPA's investigation and the state and federal criminal cases pending against Ward's President and
Vice President, Ward instituted many changes beginning in 1978. Some of these changes included:

Spill Prevention and Control Countermeasures Plan;

Employee spill response training;

Procurement of spill cleanup equipment;

Routine inspections for leaking transformers;

e Monthly reporting;

e Enclosed oil transfer pumping procedures;

e Daily cleanup procedures;

e Oil storage tank dykes;

e Surface water management systems; and

e Tank Farm Expansion from 3 to 7 Tanks for Transformer Fluid Containment.

In addition, transformers were tested prior to receipt. Those transformers containing less than 50 ppm
PCBs were considered non-PCB transformers and were accepted onsite at Ward, Transformers
containing 50 — 500 ppm PCBs were required to be drained prior to shipment to Ward. By 1978, Ward
refused to accept transformers which contained fluid with greater than 500 ppm PCBs. Transformers
onsite were stored for re-sale and/or were reconditioned onsite (WTC, 1979; NC DEHNR, 1995).

Closure and Cleanup (2006 to Present)

Following the closure of the transformer plant in 2006, excavation was conducted to clean up the site to
a soil removal level of less than 1ppm PCBs. Excavated soils with PCB concentrations less than 50 ppm
were disposed of off-site. Excavated soil with PCB concentrations greater than or equal to 50 ppm was
treated in a Low Temperature Thermal Desorption (LTTD) unit to concentrations less than 1 ppm and
backfilled on the Ward Transformer property.

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PCBs are a class of chlorinated organic compounds that, due to their chemical and physical stability,
were used in a variety of commercial and industrial applications in the United States between 1929 and
1977 (ATSDR, 2000; USEPA, 1976). They are not known to occur naturally. The manufacturing of specific
PCB products is an important consideration when constraining the date of release, because the
formulation of transformer fluids changed over time.

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Aroclor Composition
Monsanto manufactured a range of PCB products and marketed them under the trade name “Aroclor.”

Each Aroclor product contained a subset of 209 possible PCB congeners. Each congener contains
between 1 and 10 chlorine atoms. Each congener differed in terms of the number and position of the
chlorines on the biphenyl molecule. Each Aroclor was formulated for a range of different commercial
and/or industrial applications (Monsanto, 1960; Erikson, 1997; ATSDR, 2000). For example, Aroclors
1242, 1016, 1248, 1254 and 1260 performed exceptionally well in electrical equipment as dielectric
fluids (Table 1).

Askarels

Askarels are a subclass of dielectric fluids used in transformers and other electrical equipment. They
contain pure Aroclors or mixtures of Aroclors and polychlorinated benzenes formulated specifically for
liquid filled transformers, capacitors, switches, and terminal chambers (Monsanto, 1963a; Monsanto,
1971; USEPA, 1976). The primary advantage of PCB dielectric fluids compared to mineral oils is that they
are non-flammable and very stable, which extends the service life of the electrical equipment
(Monsanto, 1971). However, they are more expensive and toxic. Accordingly, they are primarily used
for electrical equipment with secondary containment that is located in buildings and underground. The
operational lifetime of PCB transformer fluids is thought to be 30 to 40 years under normal operating
conditions. Monsanto provided instruction for the monitoring of Askarel quality to assure the timely
replacement of the fluid before its deterioration resulted in expensive equipment damage (Monsanto,
1963b).

Formulation Changes Over Time

The Askare! formulation changed over time (Table 1). Prior to the early 1970’s, transformer Askarels
with trade names, such as Pyranol, Inerteen, Chlorextol, Noflamol, and Saf-T-Kuhl, consisted of Aroclor
1260 mixed with trichlorobenzenes or trichlorobenzenes and tetrachlorobenzenes. In the early 1970's,
Monsanto phased in other transformer Askarel formulations that included Aroclors 1242 and 1254
(ASTM D2283}. Capacitor Askarels contain Aroclors 1242, 1254, or 1016; or mixtures of Aroclors 1254
and trichlorobenzenes (ASTM D2233-86). Askarel formulations also included scavengers to prevent the
accumulation of corrosive gas; i.e., hydrogen chloride. The scavengers included phenoxypropene oxide
(glycidyl-phenyl ether); diepoxide (3,4-Epoxycyclohexylmethyl-3,4-epoxycyclohexane carboxylate); or tin
tetraphenyl. Forensically, the characterization of the Aroclor type, polychlorinated benzene
composition, and scavenger compounds provide the means to forensically identify the PCB product
(Table 1) and, thereby, estimate the date of its manufacture, and constrain its date of release.

Spatial Distribution
The spatial distribution is also an important consideration when constraining the date of release for PCB

products. PCB non-aqueous phase liquids (NAPLs) typically have specific gravities greater than 1, which
means they are more dense than water and are therefore dense non-aqueous phase liquids (DNAPLs).
In practice, DNAPLs sink through the void (i.e., empty) spaces between soil particles that are normally
filled with soil gas and groundwater until they encounter a confining layer of soil that is too dense to
penetrate or become so diluted by mixing with soil particles that the PCBs lack a sufficient mass to flow
under ambient conditions. NAPLs can migrate from their points of discharge through the subsurface, or
be transported along or through a preferential pathway like a pipe, sewer, or drainage ditch, to
subsurface, surface, or sediment locations some distance from the point of discharge. The NAPL
eventually binds with soil and sediment particles which remain buried or migrate downstream especially
when eroded or resuspended during storm events. The adsorbtion, migration and mixing of PCB-
containing fluids can take a long time, However, the re-grading of the Ward and Estes properties prior

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Emsbo-Mattingly Expert Report (2)

to 1979 likely redistributed the PCB contamination around these properties relatively quickly. The
spatial distribution of PCBs within the study area is consistent with a combination of these long-term
natural and short-term anthropogenic activities.

Proximity to Historical Operations

The PCB concentration gradient and proximity to historical operations helps identify the likely activity or
equipment that caused the release. The highest PCB concentrations generally coincide with the point of
release. The declining PCB concentration represents the mixing of PCB-containing transformer fluids
with ambient soil, sediment, or other media. The historical activity that occurred near the highest PCB
concentrations provides a line of evidence that can help constrain the date of release. Similarly, the
collection of samples over time (e.g., pre- and post-1978) in the areas of alleged discharge can help
constrain the date of release,

Observed PCB Concentrations

Descriptive statistics calculated on the Ward Transformer Database (Attachment 4) help demonstrate
the occurrence of PCB Aroclors in each domain (Table 2). The maximum total PCB Aroclor concentration
occurred in Transformer Storage Yard soil (TPCB maximum = 13,000 mg/kg) followed by Stormwater
Lagoon sediment (TPCB maximum = 2,900 mg/kg) and soil (TPCB maximum = 1,400 mg/kg). This finding
suggests that PCB-containing transformer fluids were released or accumulated in these areas. The
elevated concentrations of Total PCB Aroclors declines between the Offsite West (TPCB maximum soil =
1,500 mg/kg), the Unnamed Tributary (TPCB maximum soil = 280 mg/kg and TPCB maximum sediment =
62 mg/kg, and the Little Brier Creek (TPCB maximum sediment = 4.2 mg/kg). The declining PCB
concentration signifies the dilution of the PCBs as they migrated offsite and mixed with ambient soils
and sediments.

The composition of the soil, sediment, and solid samples is fairly uniform (Attachment 4). Of the 1391
samples tested for PCB Aroclors, 1158 (83%) contained detectable concentrations of PCBs. Aroclor 1260
was detected in 100% of the soil, sediment, and solid samples with PCB detections. Only 16 (1.2%) of
the soil, sediment, and solid samples contained Aroclor 1254 and all of these samples also contained
Aroclor 1260. Only 21 (1.5%) of the soil, sediment, and solid samples contained chlorobenzenes’ and all
of these samples also contained Aroclor 1260, These samples were neither measured for all six
trichlorobenzene and tetrachlorobenzene isomers, nor any of the Askarel scavengers. In summary, the
overwhelming majority of the soil, sediment, and solid samples contained Aroclor 1260, fewer than 2%
of them contained other Aroclors or chlorobenzenes, and none of these samples were measured for all
chlorobenzene isomers and Askare! scavengers needed to accurately identify transformer fluid product
or estimate its manufacturing date based on the chemistry alone.

 

' The chlorobenzene compounds measured in the field samples included a maximum of the following:
chlorobenzene, 1,2-dichlorobenzene, 1,3-dichtorobenzene, 1,4-dichlorobenzene, 1,2,4-trichlorobenzene,
and hexachlorobenzene. Tetrachlorobenzene and pentachlorobenzene isomers were not measured in
any of the samples.

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Opinion 1. There are well recognized forensic methods for identifying the date of manufacture of
PCB-containing transformer fluids and this methodology requires measurement of
trichlorobenzenes, tetrachlorobenzenes, and scavengers. The parties who investigated
the Ward site, including the Plaintiffs, did not take those critical measurements. At this
point, it is too late to reconstruct those measurements. The failure to take these
measurements prevents a forensic chemist from being able to date the PCBs identified in
the samples relied upon by Mr. Collison. Therefore, the historical data do not support Mr.
Collison’s opinion that PCB fluids continued to be released onsite after 1978.

The historical data demonstrate several important forensic features. First, the concentration of total
PCBs was high onsite and declined with increasing distance offsite (Figure 2). This spatial pattern is
consistent with onsite releases that migrated downstream. Second, Aroclor 1260 is present in more
than 99% of the 1391 field samples (Figure 3). This finding is consistent with the release of PCB-
containing transformer fluids manufactured between approximately 1932 and 1970 (Table 1). Third, the
onsite PCB concentrations were highest near the transformer storage yard and former lagoon where
transformer fluid releases occurred (Figure 4). The number of different hot spots indicates multiple
discharge points or the complex redistribution of PCBs when the properties were re-graded before 1979,
Fourth, a small number of these samples contained Aroclor 1254 and one sample contained Aroclor
1242 (Figure 5), This observation may demonstrate the release of PCBs from non-transformer
equipment or transformer fluids manufactured between 1970 and 1977 (Table 1).

The historical data do not include measurements of many forensically important analytes. Some of the
samples were measured for trichlorobenzenes, dichlorobenzenes, and chlorobenzenes. The samples
with mixtures of chlorobenzenes and PCBs contained Aroclor 1260, This finding signifies the presence of
Askarels. Unfortunately, most of the samples measured for Aroclors were not tested for
trichlorobenzenes and none of the samples were tested for tetrachlorobenzenes or scavengers (i.e.,
phenoxypropene oxide, diepoxide, and tin tetrachloride). Consequently, the historical data offer
insufficient information to determine the specific transformer fluid identities or, therefore, the
approximate date of manufacture. It is my understanding that the historical samples have not been
properly archived for supplemental testing and the historical contamination has largely been
remediated. Therefore, the ability to perform supplemental testing is no longer possible. Therefore, the
historical data do not support Mr, Collison’s opinion that PCB fluids continued to be released onsite
after 1978.

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Opinion 2. The spatial distribution of PCB contamination and the testimony and other evidence from
Ward and Ward employees are consistent with the proposition that PCB contamination
at the Ward site relates primarily if not wholly to releases that occurred before
1978.Therefore, Mr. Collison’s opinion that that Ward continued to release PCBs from
the site up until the time that Ward ceased operation is not supported.

The site history and spatial distribution of PCBs indicate that the rehabilitation of transformers resulted
in significant releases of PCB-containing transformer fluids before 1978. After 1978, the concentration
of PCB releases likely declined based on the implementation of environmental control procedures (e.g.,
transformer fluid testing prior to arrival, spill response upgrades, stormwater control systems, and
offsite disposal of PCB-contaminated fluids). However, this conclusion cannot be supported by the
generic PCB testing procedures reflected in the historical database. The failure to 1) measure diagnostic
Askarel constituents, such as trichlorobenzenes, tetrachlorobenzenes, and scavengers; and 2} measure
PCBs in soils before and after 1978 compromised the ability of forensic investigators to conclusively
identify the date transformer fluid manufacture and infer the date of release based on the chemical
signatures. As above, it is my understanding that the historical samples have not been properly archived
for supplemental testing and the historical contamination has largely been remediated. Therefore, the
ability to perform supplemental testing is no longer possible.

However, the site history, spatial distribution of PCBs, and the testimony about improved equipment
and oil handling practices at Ward after the arrest and conviction of Ward’s President for the road-side
spraying provides support for the proposition that the PCB contamination at the Ward site was
attributable to PCB releases before 1978. The migration of contaminants from the source areas took a
long time with some acceleration due to the re-grading of the Ward and Estes properties before 1979.
Mr. Collison’s opinions, including those offered in his 2012 deposition, that Ward continued to release
PCBs from the site up until the time that it ceased operation is not supported.

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Emsbo-Mattingly Expert Report

 

Table 1. Chemical and Physical Properties of PCB Aroclors and Askarels.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Aroclor 1242 1,30-1.39
69-21-9 C1 3 2 i i 1,2
(1930 to 197) 53469-2 (C12H7CI3) 4 25°C/15.5°C mobile oil clear
Aroclor 1254 1.49-1.50
11097-69-1 C12HS5cI5 54 i light yell
(~1930-1977) ( 15) 65°C/15.5°C viscous liquid ight yellow 1,2
Aroclor 1260 1,55-1.56
11096-82-5 C12H4CI6 60 1,
(1930-1972) 2 (C12H4CcI6) 90°C/15.5°C soft, sticky resin light yellow /2
Trichlorobenzenes Three isomers
a> 87-61-6 46-1. li |
1,2,3 7. cenacia EG 1.46 - 1.69 iquid/ ear/ i
1,2,4- 120-82-1 Temp NA crystalline powder white-balge
1,3,5- 108-70-3
Tetrachlorobenzenes | Three Isomers
1,2,3,4- 634-66-2 1.73 - 1.86
C6H2CI4 66 crystalline powder white-baige 3
1,2,4,5+ 95-94-3 Tempna_ | “YstauneP E
1,2,3,5- 634-90-2
Transformer Askarel
60% AR1260 1,560 to 1,568
Pyranol 1448 on (C10H3CI5) 59 45 is 5°C mobile oil clear 4,6
(1932-1944) ‘ ‘
Transformer Askarel
60% AR126! 1,560 568
Inerteen % . 6 (C10H3CI5) 59 tot mobile oil clear 4
40% TriCB 15,5/15.5°C
(1933-1949)
Transformer Askarel 60% AR1260
.560 to 1.568
Pyrano| 1467 40% TriCB (C10H3CI5) 59 oe 5°C mobile oil clear 4,6
(1944-1952) 0,125% Scav 1 —
Transformer Askarel
60% AR1260 1.560 to 1.568
Inerteen PPO 40% TrICB (C10H3CI5) 59 i a 5°C mobile oil clear 4
Introduced 1949 ‘ ‘
45% AR1260
fpransfermer Askarel 40% TriCB 1.560 to 1,571
Pyranol 1470 (C9H3CI5) 61 ; 7 moblle oil clear 4,5,6
15% TetraCB 15.5/15.5°C
(1952-1963)
0.125% Scav 1
45% AR1260
Transformer Askarel
40% TriCB 1.560 to 1.571
COH3CIS i i
Pyranol 1497/413B83B 159% TetraCB (C9H3CI5) 61 15.5/15.5°C mobile oil clear 4,6
{1963-1970}
0,125% Scav 2
45% AR1254
Transformer Askarel 40% TriCB sstsfonIsz25
Pyranol A13B3B2 Ee eEGe (C9H4cI4) 57 i 5/15 BC mobite oil clear 46
(1970-1974} ‘ :
0.125% Scav 2
Transformer Askarel 60% AR1254
.495 to 1,510
Pyranol A13B3B3 40% TriCB (C10H4Cl4) 56 _ = mobile oil clear 4,6
(1974-1977) 0.125% Scav 2 ~~
Notes: Scavengers: References:
Nt - No Information 1, Tetraphenyl tin 1, Monsanto,1971 4. Monsanto, 1950's
* Specific Gravity: 2. 3,4-Epoxycyclohexylmethyl- 2. Monsanto, 1995 5. Monsanto, 1963a
Ratio of welghts of equal volumes of product 3,4-epoxycyclohexane- 3, Beck&Loser, 2011 6. Fessler, 1979
and water at specified temperatures carboxylate

 

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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 12 of 45
Ward Transformer Site 11 & a
Emsbo-Mattingly Expert Report a

Table 2. Total PCB Aroclor Concentrations by Domain and Matrix.

Transformer Soll

Transformer Soil

Transformer Solid

Tank Farm Soil

Gravel Pa Soil

Stormwater Soil

Stormwater Solid

Stormwater Sediment

Horizon Forest Soil

Horlzon Forest Solid

Estes Soil

Estes Solid

Estes Sediment

Offsite West Soil

Offsite West Water

Offsite South Soil

Offsite East Soll

Offsite North Sall

Unnamed T Soil

Unnamed T Sediment

Little Brler Creek Downstream Sediment

Remedial Area Sediment

Construction Delineation Area Soll

Not defined Soll

Not defined Solid 95
Not defined Sediment 55
Not defined Water 7
Not defined 43 varies
Totat 1391

 

Not defined - samples that do not have coordinates (e.g., excavation pile samples) or were collected outside the area depicted In the figures In thls report.
Solids Include solid media other than soils and sediments (e.g., ash, brick, concrete, wood chips, etc...)

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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 13 of 45
Ward Transformer Site 12
Emsbo-Mattingly Expert Report

 

Figure 1. Ward Transformer Site and Spatial Domains.

Samples by Domain
Dork intd
@ Transformer Reconditioning Building
@ Transformer Storage Yard
= — @ Tank Farm
aires TBC aI [ ; : = @ Gravel Parking Lot

Stormwater Lagoon
om ; © Estes Operation
| | i © Horizon Forest Property

. : i ) © Unnamed Tributary
© Little Brier Creek Upstream
© Little Brier Creek Downstream
© Offsite East
© Offsite South
@ Offsite West
© Offsite North
@ Remedial Investigation Area
@ Construction Delineation Area

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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 14 of 45
Ward Transformer Site 13
Emsbo-Mattingly Expert Report

 

Figure 2. PCB Concentrations in the Study Area.

  
  
 
 
  
 
  
  
  
  
   
   
 
  
   
  
   
   
   
   
   
   

No,
ba) Transformer Reconditioning Building 1 |
Transformer Storage Yard 2
Tank Farm 3
Gravel Parking Lot 4
Water Treatment Plant Office 5
Stormwater Lagoon 6
Horizon Forest Property 7
Estes Property 8
Offsite West 9
ae ey Offsite South 10
Offsite East 41
Offsite North 12
Unnamed Tributary 13
Little Brler Creek Upstream 14
Little Brier Creek Downstream 15
Remedial Investigation Area 16
Construction Delineation Area 17
i Not defined 18

 

Not Detected
Detect - 1
>1-10
>10- 100
>100 ~ 1,000

>1,000

 

Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 15 of 45
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Emsbo-Mattingly Expert Report ey

Figure 3. PCB Composition In the Study Area.

  
  
  
  
  
 
 
 
 
  
  
   
 
  
  
  
   
     
   
 
 
   
   
   
    

£3] Transfarmer Reconditioning Building
Transtormer Storage Yard

Tank Farm

Gravel Parking Lot

Water Treatment Plant Office
Stormwater Lagoon

Horizon Forest Property

Estes Property

Offsite West
ee oe Offsite South
Offsite East
Offsite North
Unnamed Tributary

Little Brier Creek Upstream
Little Brier Creek Downstream
Remedial Investigation Area

MB] Construction Delineation Area
Not defined

Aroclor Composition

%
BEB Arocior_1016

 
 

BB Avoclor_1232
{-_] Atoclor_1242
Aroclor_1248
[_] Atoclot_1254
4 EB Arocior_1260

CC UU Coe ys y Sai te] ae?) eat lL

 

Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 16 of 45

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Emsbo-Mattingly Expert Report =

Figure 4. Total PCB Concentrations in Soil, Sediment, and Solid Samples.

  
 
  
  
 
  
 
 
  
  
 
  
  
 
 
  
  
  
  

Domain

j Transformer Reconditioning Building
Transformer Storage Yard
Tank Farm

Gravel Parking Lot

Water Treatment Plant Office
Stormwater Lagoon

Horizon Forest Property

Estes Property

Offsite West

Offsite South

Offsite East

Offsite North

Unnamed Tributary

Little Brier Creek Upstream
Little Brier Creek Downstream
Remedial Investigation Area
Construction Delineation Area
Not defined

 

Total PCB (ppm)
TPCBall
Not Detected
Detect - 1
>1-10
>10- 100
>100 - 1,000

>1,000

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Emsbo-Mattingly Expert Report a

Figure 5. PCB Composition in Soil, Sediment, and Solid Samples.

 

  
  
 
 
  
 
 
 
  
  
  
 
 
  
  
 
  
  

Domain

¥ Transformer Reconditioning Building
Transformer Storage Yard
Tank Farm

Gravel Parking Lot

Water Treatment Plant Office
Stormwater Lagoon

Horizon Forest Property

Estes Property

Offsite West

Offsite South

Offsite East

Offsite North

Unnamed Tributary

Little Brier Creek Upstream
Little Brier Creek Downstream
Remedial Investigation Area
Construction Delineation Area
Not defined

Aroclor Composition
#

WE Aroclor_1016

Asoclor_1221

BEE Aroctor_1232

|_| Aroctor_1242

) Aroclor_1248

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Attachment 1
Resume for Stephen D. Emsbo-Mattingly, M.S.

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Emsbo-Mattingly Curriculum Vitae
Ward Transformer Site

STEPHEN D. EMSBO-MATTINGLY, MLS.
Senior Chemist/Consultant
Environmental Forensics Practice

EXPERIENCE SUMMARY

Mr. Emsbo-Mattingly specializes in the diagnostic measurement of polychlorinated biphenyls
(PCBs), petroleum, petrochemicals, fuels, combustion byproducts, dioxins, tar, coke, coal,
carbonization byproducts, chlorinated solvents, heavy metals, and other industrial products in
various environmental media. He has conducted more than 200 environmental chemistry and
forensic investigations at electric utilities, substations, transformer recycling operations,
petroleum storage facilities, petroleum refineries, marine terminals, former manufactured gas
plants (MGPs), paper mills, wood treating facilities, tar refineries, coke plants, dry cleaners,
chemical plants, chlorinated solvent manufacturers, metallurgical operations. Many of these
projects required an evaluation of historical chemistry results and ambient background
conditions associated with off-site and non-point releases from urban background or regional
storm sewers. Most forensic investigations also required detailed study design, workplans,
sample collection, and analysis of laboratory data and quality control performance. Mr. Emsbo-
Mattingly’s past technical and expert reports were commissioned on behalf of both private
companies and regulatory agencies.

Mr. Emsbo-Mattingly possesses 25 years of forensic chemistry experience. He directs and
manages forensic chemistry projects throughout the United States involving the identification of
fugitive products containing hydrocarbons, PCBs, Askarels, polycyclic aromatic hydrocarbons
(PAHs), soot, polychlorinated dibenzo-p-dioxins and polychlorinated dibenzofurans
(PCDD/PCDFs), tar, coke, petrochemicals, chlorinated solvents, organochlorine and
organophosphorus pesticides, and other anthropogenic materials. His most recent casework
involves site and liability assessments associated from releases of electrical equipment fluids, tar
byproducts, petroleum, building fires, dry cleaners, chemical manufacturers, coking plants, wood
preserving plants, pipelines, gasoline service stations, refineries and railroad operations. The
diagnostic indicator compounds used most effectively in his research include PCB
Aroclors/congeners/homologues, parent and alkylated PAHs, chlorinated solvents, pesticides,
PCDD/PCDF extended isomers, volatile and semivolatile organics, alkylated benzenes, alkylated
cyclohexanes, alkylated leads, biomarkers, fuel additives, and chlorophenols. His projects have
featured numerous emerging forensic methods (organic petrology, stereomicroscopy, scanning
electron microscopy, energy dispersive x-ray spectrometry, compound-specific isotope ratio
mass spectrometry, hydrocarbon soluble metals, Fourier transformed ion cyclotron resonance
mass spectrometry) and interpretive techniques (chemometrics, geostatistical, and data
visualization software tools).

As indicated below, most Mr. Emsbo-Mattingly’s recent publications focus on the differentiation
sources of PCBs, hydrocarbons, solvents, and PCBs in sediment, soil, tissue, and air media.
Prior to joining NewFields Mr. Emsbo-Mattingly was a Principal Research Scientist at Battelle
Memorial Institute after directing the operations of the META forensic laboratory and the E3]
full service environmental laboratory.

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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 20 of 45
Attachment 1 A1-2
Emsbo-Mattingly Curriculum Vitae
Ward Transformer Site

EDUCATION AND TRAINING
M.S., Environmental Science, University of Massachusetts, 1994
B.A., Biology, Oberlin College, 1988

EMPLOYMENT HISTORY

Energy & Environmental Engineering (E31): 1988 to 1996

META Environmental, Inc. (META): 1996 to 2000

Battelle Memorial Institute (BMI): 2000 to 2004

NewFields Environmental Forensics Practice, LLC (NF): 2004 to Present

PROFESSIONAL AFFILIATIONS

American Chemical Society

Society of Environmental Toxicology and Chemistry
Air and Waste Management Association

American Wood Protection Association

Society for Industrial Archeology

REPRESENTATIVE PROJECT EXPERIENCE
PCB and PCDD/PCDF Projects

New Bedford Harbor - Mr. Emsbo-Mattingly was the project chemist for the New Bedford
Harbor (NBH) Superfund Site during 2001. On behalf of USEPA and US Army Corps of
Engineers, he helped orchestrate the collection of chemical data (PCBs, PAH, and metals)
required for the dredge-design plan. In this capacity, he wrote the NBH Quality Assurance
Project Plan and assisted with the NBH Field Sampling Plan. He promoted laboratory
compliance with the project objectives through contracting (Statement of Work) and monitoring
(Data Review, Data Validation, and Data Interpretation reports) systems.

Centredale Restoration Project —Formerly operated as a chemical manufacturer and drum
recycling facility, the historic site activities included waste disposal, which is believed to be the
source of PCDDs, PCDFs, hexachloroxanthene, pesticides, and PCB contamination at the site.
Collectively, these persistent halogenated organic compounds migrated into proximal waterways.
As part of a team lead by USEPA, USACE, and Battelle Memorial Institute, source and
reference samples were compared to regional sediments to help confirm the nature and extent of
the release. Using chemical fingerprinting and principal components analysis (PCA), Mr.
Emsbo-Mattingly helped isolate and track the on-site contaminant signatures down gradient to
the point at which they were no longer distinguishable from reference areas.

Wood Treater Project — A former wood treating facility allegedly caused PAH and PCDD/PCDF
impacts in neighboring waterways. Historical data including regulatory compliance data were
unable to recognize or delineate the chemical signature of source material in proximal sediments.
Soils and sediments from the source, reference, and alleged release areas were collected and

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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 21 of 45
Attachment 1 A1-3
Emsbo-Mattingly Curriculum Vitae
Ward Transformer Site

 

analyzed by traditional methods with modification for the resolution of numerous additional
isomers. The enhanced signature richness and multivariate statistics helped geospatially
distinguish site and background related influences,

PCB Superfund Site in Alabama — A former PCB manufacturing facility allegedly released PCB
Aroclors into proximal waterways and regional air systems. The transport of this material was
identified by comparison of regional sediments and soils to samples collected around the
production facility.

LCP Chemical Superfund Site — PCB impregnated materials were used during the manufacture
of caustic soda, chlorine, and hydrochloric acid by the electrolysis of sodium chloride using
mercury cells. PCBs and mercury measured in regional sediments were attributed to waste from
this manufacturing process. A forensic analysis revealed multiple lines of evidence that
suggested a significant portion of the PCBs were attributed to regional background.

Refinery Catalyst - PCB impregnated catalyst was used by a refinery laboratory. Waste catalyst
was deposited in a wetland. PCB congener analysis and forensic techniques such as principal
components analysis (PCA) were used to demonstrate the local footprint of the catalyst material,
Regional sediments, waters, and fish tissue samples exhibited distinct compositional patterns that
matched the background dataset.

Aluminum Smelting Plant — Environmental investigations revealed PCB soil contamination
associated with the smelting pots. However, a number of Aroclors were identified that were not
associated with the process. PCB fingerprinting techniques helped distinguish the Aroclor
patterns that were attributed to weathering and those that represented Aroclors used by the plant.

PAH Source Identification Projects

Mr. Emsbo-Mattingly participated in more than fifty source identification projects involving the
identification of petroleum tar and coal tar generated by carbureted water gas, oil gas, and coke
ovens facilities. The historical practices at these sites included the manufacture, storage and
distribution of chemical products from former MGPs, wood treatment plants, metallurgical
industries, general construction, municipal installations, military bases, utilities and waste sites
of many varieties. Several of these projects required the differentiation of releases from adjacent
sites that produced and refined tar products, respectively. Often these projects required tracing
tar signatures across plumes of independent origin, including background from urban runoff.

Edgewater Tar Refinery Plant — This plant manufactured tar products including Tarvia,
Carbasota, creosote, and roofing tar from carbureted water gas and coal tars. Historical tar
releases were differentiated from petroleum fuel oil, coal, and waste oil releases using advanced
PAH, feedstock, and petrographic fingerprinting. The analysis also included calculations of
crude tar consumption and tar product manufacturing rates using historical literature and plant
specific records. These findings helped clarify the conceptual site model and resolve the
allocation discussions.

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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 22 of 45
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Emsbo-Mattingly Curriculum Vitae
Ward Transformer Site ie

West Virginia Coke Plant — The origin of PAHs down gradient of a byproduct coke oven plant
and tar refinery was unknown. The alleged sources included coke breeze, coke, coal tar, and
refined tar. A detailed characterization of the source materials and down stream soils and
sediments demonstrated that the source was attributed to the tar refinery and not the coke breeze,
coke, or coal. This finding helped clarify the conceptual site model and resolve the allocation
discussions.

Massachusetts MGP Plant — This project focused on the release date and stability of tar residues
from an MGP to down gradient sediments. The tar generation rate was estimated from gas
production records over time using historical industry literature and site specific information.
The fate and transportation analysis required a detailed study of tar weathering and stiffness,
which were subsequently related to toxicity studies. The approximate period of release was
determined with multiple lines of evidence, which included 1) the manufactured gas plant
processes through diagnostic ratios and feedstock analysis and 2) the age of tar containing
sediments using radioisotopes.

Ashland/NSP Lakefront Site — The origin of tar throughout this site was not clear. On behalf of
USEPA Region 5 and WDNR, Mr. Emsbo-Mattingly employed environmental forensics
techniques to demonstrate a pathway for hydrocarbons from a former MGP to the lakefront
shoreline, On behalf of the PRP group, he helped identify sections of the Site that were used for
wood treating operations.

Fire Investigations

Natural Coal Fires — Natural coal fires produce coal tar and hazardous emissions. As part of an
academic collaboration, NewFields characterized a range of natural coal tars from Kentucky,
Alabama, and Wyoming. While the environmental impact of these tars was proximal to the fires,
the tar contaminants resembled many of the features of industrial coal tars. The results were
published a four volume series on Coal and Peat Fires and the online Encyclopedia of Earth.

Navy Former Fire Training Areas - The impact of former fire training activities is often
governed by site-specific factors, like period of operation, confining barriers, soil type,
groundwater flow, and accelerant type. The potential influence of these factors was observed to
varying degrees in samples collected from multiple sites in Maine and Massachusetts.

Superfund Projects

Neenah MGP Investigation - The site of this former MGP was subsequently occupied by a
gasoline service station and other commercial enterprises. Funding for the cleanup was
dependent on the identification of non-MGP petroleum residuals at the site that were readily
discovered using advanced forensic chemistry methods.

Fairmont Coke Works Site - Black semi-solid material was recovered from a stream dividing two
adjacent NPL-listed sites. One site was a coke works site and the other was a tar
refining/chemical company. The migration potential of waste material from each site was
evaluated in order to clarify the scope of each cleanup under Superfund.

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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 23 of 45
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Ward Transformer Site Ey

Navy Former Fire Training Area - The impact of former fire training activities is often governed
by site-specific factors, like period of operation, confining barriers, soil type, groundwater flow,
and accelerant type. The potential influence of these factors was observed to varying degrees in
samples collected from this location in Maine.

Sediment Investigations

The Massachusetts Water Resources Authority (MWRA) planned and built a large state-of-the-
art wastewater treatment plant to abate the discharge of untreated and partially treated sewage to
Boston Harbor. Effluent from the plant is discharged through a pipe running nine miles offshore
to further improve the water quality in Boston Harbor and facilitate the dilution of effluent with
minimal impact to the offshore environment. MWRA commissioned a comprehensive testing
program of Massachusetts coastal sediments to monitor potential impacts of effluent from the
Deer Island Plant. Monitoring stations were selected near Boston Harbor and the new outfall
(nearfield) and throughout Massachusetts and Cap Cod Bays (farfield), Mr. Emsbo-Mattingly
used principal components analysis (PCA) to evaluate compositional changes in selected
sediment parameters (pesticides, PCBs, PAHs, metals, TOC and grain size) that occurred during
the pre- and post-discharge periods (1992 to 2000 and 2001 to 2002, respectively). He used
these same PCA techniques to evaluate changes in zooplankton over the same periods.

U.S. Naval Stations face complex environmental challenges that often arise when bases are
closed or redeveloped for civilian activities. Mr. Emsbo-Mattingly participated in multiple
shoreline and shipyard assessments for the purpose of identifying and distinguishing
environmental impacts from Navy facilities and vessels from urban background and commercial
industry. These sediment studies often require traditional chemical fingerprinting coupled with
statistical pattern recognition (e.g., principal components analysis or PCA).

Petroleum Projects

Mr. Emsbo-Mattingly investigated more than 30 petroleum crude oil spills, petroleum and
natural gas production well accidents, refineries, storage depots, pipelines, fracking operations to
determine the nature and extent of petroleum releases. These investigations often involved an
assessment of historical data, supplemental forensic chemical testing, process chemistry, and
applicable background conditions. Many of these projects required geospatial and multivariate
analysis of commingled contaminant plumes. The fate and transport of petrochemicals is often
characterized using lines of evidence such as hydrocarbon chemistry (PAHs, geochemical
biomarkers, saturates), isotopes, weathering patterns, field data, and many others.

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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 24 of 45
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Emsbo-Mattingly Curriculum Vitae
Ward Transformer Site - ry

Vapor Intrusion Source Identification Projects

Mr. Emsbo-Mattingly participated in more than twenty source identification projects involving
the identification of petroleum, tar and chlorinated solvents in urban and residential areas.
Central to these investigations is the identification of hazardous chemicals in ambient air
resulting from human occupation verses soil gas constituents from vapor intrusion. These
projects involved the characterization of volatile compounds from local industries, building
materials, ambient air, biological metabolism, and ambient soil gas. These investigations also
benefited from advanced air testing methods developed by NewFields that improved the
fingerprinting capability of forensic investigations focused on compounds with multiple common
origins.

Solvents and Dry Cleaners

McKesson Chemical in California - Two neighboring dry cleaning and solvent packaging plants
resided above contaminated groundwater. An analysis of chlorinated solvents, degradation
byproducts, and petroleum hydrocarbons helped identify the origin of groundwater
contamination and migration pathways.

YMCA in New York — This investigation focused on the origin of chlorinated solvents and BTEX
vapors in an athletic facility. A detailed analysis of the indoor air over time demonstrated that
the chlorinated solvents originated from the locker room and maintenance closets. High
concentrations of chloroform were traced to the pool area. The detection of 1,3-butadiene was
attributed to a false positive.

Pesticide Manufacturers in Brazil — Chlorinated pesticide manufacturers employ a wide range of
chlorinated solvents and petrochemicals. The wastes are compositionally varied and include
mixtures of solvents and impurities. Undocumented wastes from these operations were found in
soils and buried containers at several onsite and offsite locations. Chemical fingerprinting
demonstrated that the co-occurrence of the complex solvent mixtures were able to identify the
impacts of point sources in NAPL, soil and air.

Projects Commissioned by the Electric Power Research Institute (EPRI)

Project Manager for “Leaching Characteristics of PCB-Contaminated Soils.” As project
manager, Mr. Emsbo-Mattingly conducted a detailed literature review and a laboratory study of
leaching and migration potential of PCBs present at electric utilities. Leaching potential was
evaluated for bias using traditional EPA and custom congener-specific methods. Risk-based
analytical techniques were developed using toxic equivalency factors (TEFs) that related the
relative toxicity of PCB containing samples to a common toxicity scale defined for dioxin.
These techniques provided relative scales for evaluating the toxicological impact of PCB-
contaminated media.

Project Manager for “Comparative Assessment of Tar Fingerprinting Methods”, This project
compares traditional and emerging forensic methods for the provision of EPRI members with
guidance on their use and applicability to MCP source identification projects. The primary

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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 25 of 45
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Emsbo-Mattingly Curriculum Vitae
Ward Transformer Site ry

methods used in this study include gas chromatography/mass spectrometry (GC/MS), gas
chromatography/isotope ratio mass spectrometry (GC/IRMS), and Fourier transformed ion
cyclotron resonance mass spectrometry (FTICRMS). Data generated from these three methods
will be used to determine the advantages and disadvantages of these methods for potentially
identifying the extent of tar contamination down to approximately 10 mg/kg total PAH in
sediment that are potentially impacted by urban runoff.

Projects Manager for “MGP” Source Characterization, Identification, and Fingerprinting.” Mr.
Emsbo-Mattingly served as project manager for this contract. His involvement included a
detailed literature, field, and laboratory study of the formation, sources, and chemical
composition of wastes, such as tars and oils, found at former MGP sites. In addition, this project
involved the optimization of analytical methods for the analysis and interpretation of biogenic,
pyrogenic, and petrogenic marker compounds,

Project Chemist for “Fate and Transport Study of Preserved Utility Poles.” This project focused
on the fate and transport of creosote and chlorophenol preservatives in treated utility poles and
adjacent soils. Custom analytical methods were developed for the measurement of TPH, PAH,
di- through penta-chlorophenols, cresols, quinoline, and carbazole. This project documented the
hetergeneous distribution of target analytes in a variety of soil types based on more than 200 pole
sites of various ages across the U.S. This study illustrated the complex compositional changes
that occur as wood preservatives migrate through the environment and the importance of site-
specific factors, like soil type, groundwater, and gravitational transport mechanisms.

Laboratory Quality Control/Quality Assurance

The ExxonMobil Upstream Research Laboratory (URL) is a world class facility that provides
integrated geochemical analyses of samples and data collected from potential and active oil
production fields in numerous countries. This laboratory has developed and utilized a wide
range of testing methods in its pursuit the most accurate and precise data for its clients. In this
ongoing process, Mr. Emsbo-Mattingly was commissioned to perform an independent review of
its SOPs and QA/QC protocols to gage its capabilities and performance. This evaluation helped
identify areas of performance excellence and prioritize areas of method development in a highly
specialized niche of the laboratory industry.

Data and laboratory auditor for numerous organic and inorganic laboratories for compliance with
prevailing regulatory parameters and project specific quality assurance plans.

Supervised laboratory quality control, laboratory certifications, blind proficiency evaluations,
external/internal audits and data validation programs at E3I and META Laboratories. Authored
the Laboratory Quality Assurance Plan and numerous QAPP’s. Developed protocols for control
charts, IDLs, MDLs, and reporting limits. Drafted special methods for PCB, herbicide and
petroleum fingerprinting methods. Monitored laboratory compliance with EPA CLP,
NYSDOH/DEC ELAP/ASP, and MADEP MCP protocols. Acquired/maintained laboratory
certifications in MA, CT, RI, NH, VT and NY.

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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 26 of 45
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Emsbo-Mattingly Curriculum Vitae
Ward Transformer Site i

Analytical Chemistry & Laboratory Operations

Mr. Emsbo-Mattingly developed and implemented custom methods for site-specific data
objectives. He consulted with clients interested in atypical methods and performance criteria.
He advised clients with respect to legal compliance. He wrote project proposals. He retained
final approval for all laboratory activities. He managed production, workflow, personnel,
budgets, and long term strategic planning. He coordinated laboratory schedules for the timely
completion of analytical projects. He evaluated laboratory operations and data for compliance
with CWA, RCRA, CERCLA (CLP), NPDES, MADEP, MCP and MWRA regulations. He
supervised personnel, conducted salary and performance reviews,

Mr. Emsbo-Mattingly developed several analytical methods for the analysis of gasoline
(PIANO), fuel oil fingerprinting (EPA 8270C Mod.), PCB congeners (EPA 1664 Mod.), and
derivatized herbicides (EPA 8150 Mod.). These methods served site-specific project objectives
for environmental investigations at gasoline stations, electric power utilities, and chemical
manufacturers.

Mr. Emsbo-Mattingly developed several analytical methods for the analysis of Volatile
Petroleum Hydrocarbons (VPH) and Extractable Petroleum Hydrocarbons (EPH) as described by
the Massachusetts Department of Environmental Protection (MADEP). The VPH/EPH methods
were designed to provide a toxicologically meaningful replacement for traditional GC and IR
methods for measuring Total Petroleum Hydrocarbons (TPH). At E31, the implementation of
these performance-based methods was centered on Purge and Trap GC/PID/FID, GC/FID and
GC/MS. AT META, these methods employed Microscale Solvent Extraction (MSE) techniques
followed by GC/MS and GC/FID analyses. Mr. Emsbo-Mattingly's experience with risk-based
analytical methods influenced projects in New England, New York, New Jersey, Alaska, and
Washington.

Analyzed volatiles (GC/MS/FID/ELCD/PID),  semivolatiles (GC/MS/FID), TPH-GC
fingerprinting, pesticide/PCB/herbicides (GC/ECD), and metals (ICP) using HP and PE
instruments. Executed troubleshooting and maintenance of organic and _ inorganic
instrumentation. Integrated mainframe instrument computer systems with PC-based software.
Compiled reports for CLP and commercial clients.

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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 27 of 45
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Emsbo-Mattingly Curriculum Vitae
Ward Transformer Site 4

Presentations

“High Resolution PAH Analysis of Hydrocarbon Products.” Emsbo-Mattingly, S.D., E. Litman.,
Occhialini, J., Siegener, R. SETAC North America 34" Annual Meeting, Nashville, TN.
November 19, 2013.

“Extended PAHs in Tar and Petroleum” Emsbo-Mattingly, $.D. and E. Litman. EPRI
Manufactured Gas Plant 2013 Symposium, Savannah, GA. November 12, 2013,

“Environmental Forensics Workshop” Emsbo-Mattingly, 8.D., Douglas, G.S., E. Litman.
University of Massachusetts, Amherst, MA. 29th Annual International Conference on Soils,
Sediments, Water and Energy, University of Massachusetts, Amherst, MA. October 21, 2013.

“High Resolution PAH Analysis for Risk Assessment and Source Identification.” Emsbo-
Mattingly, S.D., E. Litman, Occhialini, J., Siegener, R. University of Massachusetts, Amherst,
MA. 29th Annual International Conference on Soils, Sediments, Water and Energy, University
of Massachusetts, Amherst, MA. October 22, 2013.

“Chemical Characteristics and Molecular Interpretation of Solidified Tar in River and Coastal
Sediments.” Poster Presentation at the EPRI AEHS MGP 2012 Conference, Chicago, IL March
28, 2012.

“Environmental Forensics.” | Chair: Emsbo-Mattingly, S.D. and Saba, T. Society of
Environmental Toxicology and Chemistry North America, 32nd Annual Meeting, Boston,
Massachusetts. November 17, 2011.

“Traditional and Environmental Signatures of Indoor Air.” Emsbo-Mattingly, 8.D. Society of
Environmental Toxicology and Chemistry North America, 32nd Annual Meeting, Boston,
Massachusetts. November 14, 2011.

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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 28 of 45
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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 31 of 45
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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 32 of 45
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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 33 of 45
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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 34 of 45
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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 35 of 45
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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 36 of 45
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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 37 of 45
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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 38 of 45
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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 39 of 45
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Emsbo-Mattingly Expert Report

Attachment 2
Expert Service Record for Stephen D. Emsbo-Mattingly, M.S.

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Emsbo-Mattingly Testimony & Deposition Record
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Deposition, Testimony, and Expert Designations
Stephen D. Emsbo-Mattingly, M.S.
Through July 2014

Designated expert retained by Richard Catena in Richard Catena v. Raytheon Company, et als. Docket No, BER-L-
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Janine G. Bauer of Szaferman, Lakind, Blumstein, & Blader, P.C..

e Expert report dated September 11, 2012.

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Designated expert retained by Port of Alabama State Docks in State of Alabama., et al. v. Alabama Wood Treating
Corporation, et al., Case No. 1:85-cv-0642-CG-C in the United States District Court for the Southern District of
Alabama Southern Division. Retaining lawyer was Walter Cook of Lyons, Pipes & Cook.

e Expert report dated September, 2009.

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Designated expert retained by Xcel Energy in the Northern States Power v. Admiral Insurance Co., et al. Wisconsin
Circuit Court Case No. 03-CV-753. The retaining lawyer was Cynthia Smith of Michael Best & Friedrich LLP.

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Designated expert retained by Xcel Energy in the St. Paul Mercury Insurance Company and St. Paul Fire and
Marine Insurance Company v. Northern States Power in Minnesota Fourth Judicial District Case No. CT 03-017809.
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Designated expert retained by Cardi Construction v RIDEM regarding the use of urban fill as detailed in OC&I/Site
Remediation File No. 2007 - 598 in the Town of Glocester, RI.
e Expert report dated April 2010.

Designated expert retained by the Edgewater Superfund Advisory Group in its mediation with Honeywell at the
Quanta Superfund Site in Edgewater N.J.
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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 41 of 45
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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 43 of 45

 
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Case 5:08-cv-00460-FL Document 1757-4 Filed 12/11/15 Page 44 of 45
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Attachment 4

Ward Transformer Site Database

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